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                                  ORIGINAL                                                               r ~ - 1




                 IN THE UNITED S TATES D I S TRI C T C OURT F OR THE
                         S O UTH ER N DI S TRI C T O F G EO RGIA                                                      ^'   r
                                 SAVANNAH DIVIS ION
                                                                                                                  c
                                                                                     c .
LAURIE ABBO TT , FRED W I L LI AM S                                                          .. .. . .. . .. ..
and FRED WILLIAMS H O MEBUI LDER S,
INC .,

                Pla intiffs,

         vs .                                        C i vi l A c tion N o .    CV401 - 2 -1 2

THE CITY O F P OO LER , GA , EARL L
CARTER , WAYNE D . S EAY , TRAVI S
COWART , JR ., J . RO BERT BR YAN ,
BILLIE L . TYLER , SONNY
DEFILIPPIS, and STEVE E .
WAL L , JR .,


                Defend ant s .

                                  AN S WER OF D EFENDANT S

         C O ME N OW Th e Cit y o f P ooler, Geo rgia ,           Ea rl L . Carte r, W ay n e D .

Seay ,    Trav i s Cow a r t,    Jr ., J .   R obe r t Bry an ,    B illi e L . T y le r ,       S o nny

Def il ippis and S teve E . Wall , Jr ., De fendant s he rein , and fi l e thi s

Answer to Plaintiffs' Complaint, as amended,                        showing this Honorable

Court the following :

                                        FIR S T DEFEN S E

         Plaintiff s' Co mpl aint fails to state a cau se o f a c tion agains t

the Defendant s        upon whi ch relief            may be granted            and   should               be

dism issed .

                                       S E COND DEF E N S E

         Plainti f f s lack stan di ng to bring some o r all of the cl a ims
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asserted .

                                       THIRD DEFENSE

          Plaint iffs ' cl a ims are ba rred in wh ole or i n part by a p ri or

pending action .

                                      F OURTH DEFENS E

          Plaintiffs '    Compl a int i s barred i n whol e or in part by the

applic able statut e s o f limi t ation .

                                       FI F T H DEFENSE

          Pla intiffs '   c l aims are barred in who l e                or    in part by        the

doc tr ine of wai ver .

                                       SIX T H DEFENSE

          Plaintiffs ' c la ims       are b a r r ed    i n wh o l e o r      i n p ar t by the

doc trine o f es toppe l .

                                      S E V EN T H DEFEN S E

          De f endants are not li ab le to Plain t i ff s be cause th e ir ac ti ons

were made in good faith, were reasonable under the circumstances,

and were in accordance with the law .

                                      E IGHTH DEFENSE

          Plaintiffs' claims against Defendants Earl L . Carter, Wayne D .

S eay ,    Travis Co wa rt,   Jr .,    J .   R o be r t B rya n,   B i l li e L .   Ty l e r, So n ny

Defi l ippis and Steve E .        Wall ,       Jr .   are ba rred by the d o ctrines of

offi c i al and leg i s l at ive immu n it y .


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                                 N INT H D EFENS E

      Defendan t s are not liabl e t o Pla i ntiffs because t hey are n ot

guilty of any wi lful , wanton , malic i ous or i ntentio nal misconduct .

                                 TENTH DEFEN S E

      The City is immune f ro m l iabi l ity f or act io ns taken in the

perfo rmance o f i ts leg i s l ative and g over nmental func t ions .

                               E L EVENTH DEFEN S E

      Defendants are n ot l iable to P lai ntiffs b e caus e Pl aint iff s'

damages , i f any ,    were    no t prox ima te ly caused by any               act o f

Defendants .

                               T WE L FTH DEFEN S E

      Defendants are n ot      l iab l e    t o P l a i nti f fs b ecau se any all e ged

injuries and damages su stained by                P l ainti ffs were d i rectly     and

proximately caused b y f orc es ,          e cono mi c and otherwise , othe r th an

those over which th e De f endants exer ci sed cont ro l .




      Defendan t s are not l iabl e to Plaintiffs b ecause P l ai ntiffs '

Fair H ousi ng Righ t s   have n o t been de prived           or v i olated    in   any

manner wha t s oever by the Defendan t s .

                              FOU RTEEN T H DEFENSE

      Some or all o f Pl aint i ffs '         state   la w cl aims   a re barred for

fa i lure to p rovide prop er ant e l item no t ic e .


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      Punitive damag es canno t be awarded against the City o f Poo l e r

as a matter of law .

                                 SIXTEENTH DEFENSE

      There is no basi s in fact or in l aw fo r an awa rd of puni t ive

dam ages against D ef endant s Ear l L . C ar ter ,           Wayne D .   Seay , T r avi s

Cowart , Jr ., J . Robert Bry an , B i ll ie L . Ty l e r , S onny Def il ipp i s a nd

Steve E .    Wall , J r .




      There i s no corporat ion reg i s t ered with the Sec ret ary of S tat e

of Georgia with th e           n am e    "Fre d    Will ia ms H om ebuilders , Inc .",

therefore ,     the Pl aint i ff        des ignat ed by    t his na me l acks      l ega l

authority t o br i ng th is lawsuit .




      Spec i fically resp onding t o               the enumerated     paragraphs       of

Plaintiffs '     Compl a i nt , t he Cit y s ho w s th e C ou r t as f ollows :

      1.      Upon information and b el ief ,               D e fendants a dmi t the

al l egations of p a ragraph 1 o f Plaintiffs ' Co mplaint .

      2.      Upon in formation and be l ief ,              Defendan t s admit the

allegations o f paragraph 2 o f Plai n tiffs ' Co mplaint .

      3.      Defendants deny            the a ll ega tions     o f p a ragr aph 3 o f

Plaintiffs '     Complaint .


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       4.      Defendants admit the alle gat ions                   of pa rag ra ph 4      of

Plaintiffs '       Complain t .

       5.      Defendants admit               the allegati ons      of   paragraph 5 of

P laint i ffs '    Compla int .

       6.      Defendants admit               the allega t ions     of   paragraph     6 of

Plaintiffs '       Comp l a int .

       7.      Defendan t s           admit   the allegati ons of        paragraph 7       of

P l aint i ffs '   C o mpla i n t .

       8.      De fendant s admit the all eg at ions                o f para g raph 8      of

Plaintiffs '       C omplain t .

       9.      Def endants d eny the alleg at io ns of                   paragraph    9    of

Pla intiffs '      Complain t .

       10 .    Defendants admi t              the all e gations     of parag r aph    10 o f

Plaintiffs' Complaint .

       11 .    Defendants             admit   the a l lega ti ons   o f paragraph     1 1 of

Plaint i ffs ' Comp l aint .

       12 .    Defendants             admi t the a l legations      o f paragraph 12       of

Plaint iffs ' C ompla int .

       13 .    Paragrap h 13 o f Pla i ntiff s ' Compla int requ ires no

response .

       14 .    Defendan t s           admit   the a l legat io ns   of   parag raph   14   of

Plaint iffs ' Complain t .

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      15 .    De fendants          a re w it hout suff icient i nf ormat io n             or

knowledge up on whi ch to admit or deny t he a l lega t ions o f parag raph

1 5 o f Plaintiffs '      Comp lai n t .

      16 .    Subj e c t to and w it hout waivi ng the a f f i rmat ive de fense s

stated       i n this answer , D ef endants are w ithout suffi c ient

information        or know ledge up on wh ic h t o                  admi t or deny      t he

allegations o f paragraph 1 6 o f P la intif fs' Compla int .

      17 .    Defend a nts admit th e          a l lega tio ns      of   pa ragraph 1 7 o f

Plaint i ffs '   C o mp l aint .

      18 . Defendants admit the allegations of paragraph 18 of

Plaintiffs ' Comp laint .

      19 .    De fendants          deny   t he allegati ons of           paragraph    17 o f

Plaintiffs '     Complaint a s pled .

      20 .    In resp onse to paragraph 2 0 o f Pla i nt i ffs '               Compla int ,

Defendant s      admit o nl y that new f ee s ha ve at c e r ta in t im e s            be e n

adopted .     The rema i ning a ll egat ions o f p a rag r aph 2 0 of Pl aintif f s'

Compla int are denied .

      21 . In response to paragraph 21 of Plaintiffs' Complaint,

Defendants ad mit        only that         the C it y adop ted a fee of $4 .00 per

gal lo n bas ed on Equi val ent Res ident ia l Unit s (ERU) .              Such f ees were

imp o sed for c onst ruction and expa nsion                    of the Ci ty ' s sewe r

treatment fa c il ity         and had n ot          prev i ous ly    been impo s ed    when

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adopted .

       22 .    Defendan ts            de ny   the al l egations of          paragraph     22   of

Pla i ntiffs '      Complaint .

       23 . Defendants deny the allegations of paragraph 23 of

Pla i ntiffs '      C o mpla i nt .

       24 .    In resp o nse to re sp onse t o p a ragraph 24 o f Pla i n t iffs '

Complaint ,        Defendant s admit on ly t hat t he mi nimum square foot age

for a lot in single fami l y residential                      (R-1A)    is 10 , 5 0 0 .

       25 .    Defendan t s           a re    wi thout     suf f icient      informat ion      or

k nowledge upon wh ic h to admi t o r den y t h e al l eg a tions of pa r ag r aph

25 o f P l aintiffs ' Compl aint .

       26 .    Defendan t s de ny             the a l lega tions       o f par agraph 26       of

P l ain t iffs '    C o mpla i nt .

       27 .    Defendan t s deny t he all e gati o ns                  of   paragraph 2 7 o f

Plaintiffs '        C omplaint .

       28 .    Defend ants deny               the   a ll e gat io ns   o f paragraph 28        of

Plaintiffs '        Complaint .

       29 .    Defendan t s deny              the a l lega ti ons      o f paragraph 29        of

Plaintiffs' Complaint .

       30 .    Defend ants de ny              the a ll egations of p aragraph             30 o f

P l aint i ffs '    Compla int .




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       31 .    Defendants d eny the               a lle ga tions    of p aragr a ph   31 of

P l a i ntiffs '   Compla i nt .

       32 .    Defend ant s deny           the    a llegations      o f parag raph    32 o f

Plaint i ffs '     Complai nt .

       33 .    In response t o paragraph 33 o f P lai nti f fs' Comp laint , the

City o f P oo ler admit s on ly th at it h a s rece ived a lett er purporting

to be an ante l item n o ti ce le tter .                Def endant s deny tha t there are

Exh i bits    "A"     and   "B"      atta ched     to    t he   Compla int   and   deny the

remaining all egation s o f pa ragraph 3 3 o f Pl a int iffs '                Complaint .

                                           C O UN T ONE

       34 . Defendants reallege and incorporate their responses to

the allegat io ns of pa ragraphs 1 t hrough 3 3 o f Pl ai n ti f fs' Comp laint

as if set out verbat i m .

       35 .    Defendants          de ny   th e allega tions of paragraph             35 of

Plaintiffs '       Complain t .

                                           CO UN T TWO

       36 .    Defendant s reall e ge a nd in co rporat e th e ir re spons es to

the al l egat io ns of paragraphs 1 through 3 5 o f Plain t i f fs ' Co mp l aint

as if set out verbat im .

       37 .    Defendant s deny the alleg at i ons                  o f paragraph     37    of

Plaintiffs '       C ompl aint .




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                                           COUNT THREE

       38 .     Defendants real l eg e and i ncorp ora te t he i r re sponses t o

the allegations of par agr ap hs 1 thr o ugh 38 of P laint iffs ' Co mp l aint

as if set out verba tim .

       39 .     Defendants deny             the al l eg a tions of            par a graph    39 o f

Plaintiffs '       Complaint .

       40 .     Defendants deny             the al l ega t ions        o f pa ragraph 4 0 of

Plaintiffs '       Comp l a i n t .

                                            C OUNT F OUR

       41 .     Defendants re a l l e g e         a nd i ncor p o r at e   t he i r re s p onses t o

the allegations of p a ragraphs 1 through 4 0 of P laint iffs ' Comp lai nt

as if set out verba tim .

       42 .     Defendant s           deny t he     all egat i ons     of paragraph 4 2 o f

Pla i nt iffs '    Co mpla i n t .

       43 .     Defendants deny            the      a llegati ons      o f pa ragraph 4 3 of

Plaintiffs '       Complain t .

       44 .     Defendants deny the allegati ons                       of pa ragrap h 44         of

Plaintiffs '       Co mpl a int .

                                           COUNT F IV E

       45 .     Defendants rea llege and incorporate the i r re sp onses to

the allegations of parag raphs 1 through 4 4 o f P l a i ntiffs ' Co mplain t

as if set out verbatim .

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       46 .    Def endan t s deny          the a l l e gati o ns      of para g raph 46 of

Pla intiffs '      Complaint .

       47 .    Defendants den y t he             allegat ions       of   paragraph 4 7 o f

Plaintiffs '       Compl a int .

       48 .    In resp onse t o paragr aph 48                of   Pl aint iffs ' Complain t,

Defendants deny t hat it is nec essary for them to comply wi th t he

requirements f or          t he     impo siti on       of de v el opment impa c t f ee s as

required by O . C . G . A . §36-7 1 -1 .

       49 .    Defendant s deny the allegati ons                    o f para g raph 4 9 o f

P l aint iffs '    Compla int .

                                           COUNT SIX

       50 .    De f endan ts r eall ege and incorporate t heir responses to

the al legatio ns o f pa rag raph s 1 thr ough 49 of Pla intiff s' Co mplaint

as if set out verbatim .

       51 .    Defendan t s deny           the   allegati ons       of   paragraph     51   of

Plaint iffs '      Compla int .

       52 .    Defe ndants d eny the a l legat ions                 o f paragrap h 52 o f

Plaintiffs '       Complaint .

       53 .    Defendants deny the alle gat ions of                      par agr aph   53   of

P l aint i ffs '   Complain t .

       54 .    Defend an ts         deny   t he a llegati ons       o f paragraph      54   of

Pla i n t iffs '   C o mpl aint .


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                                      COUNT S E VE N

      55 .   Defendants reall ege and in corporat e th ei r resp o nse s t o

the allegations o f parag raphs 1 t hrough 5 4 of Pl aint i ffs ' Compla int

as if set out verbatim .

      56 .   Defendants de ny the all egations o f paragraph                        56    of

P laintiffs' Complaint .

      57 .   Defendants deny           the a l l ega t i o n s o f parag r aph      57    of

Plaintiffs '    Comp l a int .

      58 .   Defendants de ny          t he a l legat ion s     o f paragraph 58          of

Plaintiffs' Complaint .

      59 .   Defendants deny           the a ll ega t ion s     o f paragraph 59          of

Plaintiffs' Complaint .

                                      COUNT EIGHT

      60 .   Defendants rea lle ge        a nd     i n co rp o ra t e their resp on ses   to


the allegations of par a graphs 1 t hrough 6 0 of P l ai n tiffs ' Co mplaint

as if set out verba tim .

      61 .   Defendants deny th e            all egati ons      o f pa ragraph 61         of

Plaintiffs' Complaint .


      62 .   Defendan t s deny the all egations of                   par agraph     62    of

Plaint iffs '   Compla int .

      63 .   Defendan ts         deny the all eg ati ons        of   p ar agrap h   63    of

Plaintiffs' Complaint .


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       64 .    Def end ant s de ny the           allegations o f          par ag raph    64    of

P l aintiffs ' Co mpla int .

       65 .    Defendants deny the alle gati on s                   of    par agraph     65 o f

Pl aint i ffs '    Compla int .

       66 .    Defendan t s deny the allegati ons                   of    paragraph      66    of

Plain ti ffs ' Co mpl ai nt .

                                        COUNT N I NE


       67 .    Defendant s re allege and i n co rpora t e t heir resp onses to

the allegations of par agraphs 1 thr ough 66 o f Pl ai nt i f f s ' Compla in t

as i f set out ve rbatim .

       68 .    Defendant s         deny the a ll egations o f paragraph                  68    of

Plaintiffs '       Comp la int .

       69 .    Defendants deny the all ega tio n s o f paragrap h 6 9                          of

Plaint i f f s '   C omplain t .

       70 .    Defend ant s de ny the allegat ions of                     paragraph      70 o f

Plaintiffs' Complaint .

       71 .    Defendants deny the al legat ions                    o f paragraph 7 1          of

Plaintiffs '       Comp l aint .

       72 .    Defendants deny any a ll egati ons of P l aintiffs ' Co mplaint

not spec ifi c a l ly admitted ab ove .

       WHEREF ORE ,      De f endants prays that P l a i n t iffs ' Co mp l a int              be


d ism i sse d and      tha t a l l    cos t s    of      this   act ion   be   c ast    aga i ns t

                                                - 1 2-
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Plai ntiffs .

         This            ' day of Marc h ,                   2 00

                                                        OL          R   & G RAY LLP


                                                             Civ
                                                        PATR I CK   T . O'CONN O R
                                                        Georgia     State Bar No . 548425
                                                        PAUL H .    THREL KELD
                                                        Georgia     S tate B a r No . 7 10 731

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              IN THE UNI T ED STAT E S D I S TR ICT COURT F OR T HE
                      SO UTH E RN D I S T RI CT O F GE O R GI A
                              S AVANNAH D I VI SIO N


LA URIE ABBOTT, FRED WILLIAMS        )
and FRED WILLIAM S HO MEBUI LDER S, )
INC .,                      )


             Plaintiffs,

      vs .                         )              Civ il Act io n No . CV 4 0 1 - 2 63

THE C ITY O F POOL ER , GA , EARL L . )
CARTER , WAYNE D . SEAY , T RAVIS )
COWART , JR ., J . RO BERT BR YAN , )
BILLIE L . TY LER, SONNY
DEF I LIPPIS , and STEV E E .      )
WALL , JR .,                   )

             Defendants .                  )



                                C ERTI F ICATE O F SERVIC E

      This is to cert i fy that              I   have this day served a copy of

Defendant's Answer upon counsel of record, by U .                S . Mail with adequate

postage affixed thereto as follows :

             Der o n R . H ic k s, Esq uire
             Page , Sc r an t o m, Spr ou se ,    Tu c ker & F or d , P . C .
             P o s t Of fi c e B o x 11 99
             C o l umbus , GA 3190 2

      This
              1   2,-   day of Ma rc h ,   2 00 2 .   i~

                                                  O VER ER & GRAY L .L,
                                                                  / ~



P .O . Box 10186                                  PATRICK T . O'CONNOR
Savannah , GA 3 1 4 1 2                           State Bar No . 548425
( 912 ) 23 6-3 3 11
                                                  Attorney for Defendant
